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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

                        Civil Case No.: 1:21-cv-22437-Bloom/Otazo-Reyes

   MICHAEL PEARSON, et al.,

                             Plaintiffs,

               v.

   DEUTSCHE BANK AG, et al.,

                             Defendants.



                JOINT STIPULATION OF SUPPLEMENTAL JURY INSTRUCTION

          On March 27, 2023, the Parties jointly filed proposed jury instructions. ECF No. [197]. As

  a supplement to those proposed instructions, the Parties respectfully and jointly request that the

  Court also give the following jury instruction:

          When you review documents admitted into evidence in this trial, you may see that certain
          portions of a document have been blacked out and removed from your consideration by the
          court.

          Similarly, when you see videotaped testimony offered as evidence in this trial, you may
          notice that the videos have been edited, so that certain material is removed from your
          consideration by the court.

          You should not speculate as to the content of the portions of documents or testimony that
          has been removed from your consideration, nor should you consider as part of your
          deliberation the fact that certain portions have been removed from your consideration.
          Rather, you should consider only those portions that have been admitted into evidence.

  Authority: Adopted from Florida Pattern Civil Jury Instructions, Redacted Documents, 301.12
  (2023).



                                   [Signatures on following page.]




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          Dated: April 9, 2023

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                                  CERTIFICATE OF SERVICE

          I hereby certify that by filing the foregoing JOINT STIPULATION OF

  SUPPLEMENTAL JURY INSTRUCTION with the Clerk of Court using the CM/ECF system,

  I have caused it to be served upon all counsel of record.

          This 9th day of April, 2023.

                                                       /s/ John H. Rains IV
                                                       John H. Rains IV




                                      Certificate of Service Page
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